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8                           IN THE UNITED STATES DISTRICT COURT

9                             NORTHERN DISTRICT OF CALIFORNIA

10
     ARLINE WEINGER,                                    Case No.: 5:17-cv-05423-BLF
11
                           Plaintiff,                   NOTICE OF SETTLEMENT WITH
12
                                                        DEFENDANT BMW FINANCIAL SERVICES
13          v.                                          NA, LLC

14   EQUIFAX, INC., et al.,
15
                           Defendants.
16

17   TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
18          PLEASE TAKE NOTICE THAT plaintiff Arline Weinger and defendant BMW
19   Financial Services NA, LLC, by and through their respective counsel of record, have reached a
20   settlement in principle of the above captioned case and are in the process of documenting said
21   settlement. The Parties believe the settlement will be finalized within sixty (60) days and will
22   request dismissal of BMW Financial Services NA, LLC from this action upon finalization.
23

24                                                         Sagaria Law, P.C.
25

26
     Dated: March 29, 2018                        By:      /s/ Elliot Gale
                                                           Elliot Gale
27                                                         Attorneys for Plaintiff
28   //


            NOTICE OF SETTLEMENT WITH DEFENDANT BMW FINANCIAL SERVICES NA, LLC -1-
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                                                            Stroock & Stroock & Lavan LLP
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2    Dated: March 29, 2018                          By:     /s/ Arjun P. Rao
                                                            Arjun P. Rao
3                                                           Attorneys for Defendant
                                                            BMW Financial Services NA, LLC
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5

6            I, Elliot Gale, am the ECF user whose identification and password are being used to file

7    this Notice. I hereby attest that Arjun P. Rao has concurred in this filing.
8

9    /s/ Elliot Gale
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            NOTICE OF SETTLEMENT WITH DEFENDANT BMW FINANCIAL SERVICES NA, LLC -2-
